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IN THE UNITED STATES DISTRICT COURT F,,£D B,
FOR THE WESTERN DISTRICT oF TENNESSEE Y -» .» -D.c.
WESTERN DIVISION 95 JUH 20 AH 'U: 3a
P?OBEHT_H_U'__
CLERK‘ 1 1b l TF?OLIO
UNITED sTATEs oF AMERICA ) D- O*"` TN, §§:Sil'p§’,§
)
Plaimiff, )
)
vs ) CR. No. 04-20426-13
)
NAUM BAHHUR, )
)
Defendant. )
ORDER TO SURRENDER

 

The defendant, Naum Bahhur, having been sentenced in the above case to the custody of the
Bureau of Prisons and having been granted leave by the Court to report to the designated facility,
IS HEREBY ORDERED to surrender to the Bureau of Prisons by reporting to the FCI Forrest City,
(P.O. Box 7000), 1400 Dale Bumpers Road, Forrest City, AR 72335 by 2:00 p.rn. on FRIDAY,
JULY 22, 2005.

IT IS FURTHER ORDERED that upon receipt of a copy of this Order the defendant shall
report immediately to the Office of the Clerk, Federal Oftice Building, 167 N. Main Street, Roorn 242,
Memphis, Tennessee 38103 to acknowledge by signature receipt of a copy of this Order and that the
defendant will report as ordered to the facility named above.

ENTERED this the f ?qlday of June, 2005.

 

. D NIEL BREEN \
El) sTATEs DIsTRICT JUDGE

Thie document entered on the docket sheet ln compliance 7
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ACKNOWLEDGEMENT

I agree to report as directed above and understand that
if I fail to report, I may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, fine or both.

Signed and acknowledged before me on

 

 

 

Clerk/Deputy Clerk Defendant

ISIC COURT - WESERNT D'S'TRCT 0 TESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 37 in
case 2:04-CR-20426 Was distributed by faX, mail, or direct printing on
June 20, 2005 to the parties listed.

 

 

Robert C. Irby

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U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

